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                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                              GREENVILLE DIVISION

KATRESHA KING AND TIFFANY HOLMES,
INDIVIDUALLY AND ON BEHALF OF HER
DAUGHTER, KAISLEY BOOTH                                                         PLAINTIFFS


V.                                                                 4:20cv170-DMB-JMV
                                                         CASE NO.: __________________

MID-SOUTH HAULING, INC.                                                        DEFENDANT

                  NOTICE OF REMOVAL OF ACTION
        FROM THE COUNTY COURT OF COAHOMA COUNTY, TO THE
                  UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                       GREENVILLE DIVISION

TO:    Edward P. Connell, Jr., Esq.
       Merkel & Cocke
       Post Office Box 1388
       Clarksdale, Mississippi 38614-1388

       COMES NOW, the undersigned Defendant, Mid-South Hauling, Inc., through

counsel, as authorized by 28 U.S.C. §1441, and in support of this removal would show unto

the Court the following:

       1. On September 15, 2020, an action was commenced against Mid-South Hauling,

Inc., in the County Court of Coahoma County, Mississippi, entitled “Katresha King and

Tiffany Holmes, Individually and on Behalf of Her Daughter, Kaisley Booth v. Mid-South

Hauling, Inc.” and being Cause No. 14-CO-2020-0157 on the general docket of said Court.

Defendant, Mid-South Hauling, Inc., has been served with process.

       2. The above described action is one for which this Court has original jurisdiction

under the provisions of 28 U.S.C. §1332, and is one which may be removed to this Court

pursuant to the provisions of 28 U.S.C. §1441 in that it is a civil action, wherein the amount


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in controversy exceeds the sum of $75,000.00 exclusive of interest and costs as Plaintiff’s

counsel has demanded compensatory damages in excess of that sum, and there is a

diversity of citizenship of Plaintiffs and Defendant as further set forth herein.

       3. Plaintiffs at the time this action was commenced were and still are citizens of

Phillips County, Arkansas and the Defendant, Mid-South Hauling, Inc. was at the time this

action commenced, and still is, a corporation organized and existing under the laws of the

State of Mississippi, with its principal place of business located in Coahoma County,

Mississippi.

       4. Defendant Mid-South Hauling, Inc. appears herein by its attorneys specifically

and solely for the purpose of removing this suit from the County Court of Coahoma County,

Mississippi to this Court.

       5. Defendant, promptly after the filing of this Notice of Removal, will give written

notice of same to the adverse party by written notice to the attorneys of record for Plaintiffs,

and will file a copy of the Notice of Removal with the Clerk of the County Court of Coahoma

County, Mississippi and effect the removal of this suit from the County Court of Coahoma

County, Mississippi to this Court, to the end that said state court shall proceed no further

unless and until this suit is remanded.




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       RESPECTFULLY SUBMITTED, this the 28th day of September, 2020.

                                              UPSHAW, WILLIAMS, BIGGERS
                                                  & BECKHAM, LLP



                                       BY:    s/Richard L. Kimmel
                                              RICHARD L. KIMMEL, MBN: 3772

OF COUNSEL:

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                                     Certificate of Service

       I hereby certify that on September 28, 2020 I electronically filed the foregoing with
the Clerk of the Court which sent notification to the following:


                       Edward P. Connell, Jr., Esq.
                       Merkel & Cocke
                       Post Office Box 1388
                       Clarksdale, Mississippi 38614-1388


                                              \s\ Richard L. Kimmel
                                              RICHARD L. KIMMEL




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